                Case 4:22-cv-01371 Document 1-1 Filed on 04/28/22 in TXSD Page 1 of 3                                            4/8/2022 4:16 PM
                                                                                                     Marilyn Burgess - District Clerk Harris County
AFFIDAVIT ATTACHED                                                                                                        Envelope No. 63418960
                                                                                                                              By: SASHA PRINCE
                                                   CAUSE NO. 2(,)2219885                                                  Filed: 4/8/2022 4:16 PM



                                                           RECEIPT NO: 918272 TR.ACKING NO: 73990675
                                                               EML
  Plaintil`f:                                                                       In The i 1 3{h
  MIRANDA. DANIEL                                                                   Judicial District Court of
  VS'                                                                               Ha]Tis County. Texas
  De£-endant:                                                                       201 CARC}L.INE
  ROSS DRESS FOR LESS INC                                                           Hou,stan, Texas
                                                   a,lTATI0NCORPORATlt=
  THB STATF. OF THXAS
  County of Harris

  To:   ROSS DRESS FOR LESS TNC (A FOREIGN CORPORATION) MAY Bl{ SERVED BY SERVING THE
  REGISTERED AGENT OF THE CORPORATION
  c T coRroRATION sys'rHM
  1999 BRYAN STREHT SUITE 9Ou, I}ALLAS TX 7S201

          Attached is fi copy of: PLAINTIFF`S ORIGINAL PETITION

  This insti-ument was filed on April 1, 2022 in the above cited cansc number and court. The instrument attached describes the
  claim against you.

         YOU HAVFi BEHN SURD. You may employ an actorriey. -It-you or your Attorney do not file a written answei-with
  the District. Clei.k wh{] issued this citation b}J 10:00 a.in. on the Monday next following the expiration date of 20 days after
  you were served this citation and pe[iden, a dsfanlt judgment may be taken against you. In addiden to filing a written answer
  with the clerk, you may be required to make initial. disclosures to the other pardes of this suit. These disclosures generally
  must be made no later than 30 days after you file your answer with the clerk. Find out more at TeKasLawHelp.o[.g.

          This cit€ulon was issued on April 6, 2022, under my hand and seal of said court.


                                                                                       nth EL¢ae
  Issued at the request Of:                                                           Marilyn Burgess, District Clei'k
  HADI. HUSEIN                                                                        Haris Couiity, Texas
  7 loo kEGENC¥ SQUARE BLvn, STE i4o                                                  201 CAROLINE Houston Texas 77002
  HOUSTON. TX 77036                                                                   {PO Box 4651. Houston, Texas 77210)
  832433-7977
  Bar Number: 24067641
                                                                                      Generated By:PATRICIA JONES




  AFFIDAVT.T ATTACHED



                                                                                                              EXHIBIT A
 Case 4:22-cv-01371 Document 1-1 Filed on 04/28/22 in TXSD Page 2 of 3




                                              Officer or Authorized return

Came to hand on the Sfl|day of April A.D.. 2022, at 8:00 o'clock.
A±4L and executed by delivering Ross Dress for Less, lnc. agent CT Corporation System
a££±!±±±gJ±±£..I!e±ifa\n#!liarn±_..gn.±fa£..8t±=:flay.qfAprilA....a._=2P22.__a±±±g±±£±gclsk
EB4;Lthe within named defendant. in person, a true copy of this Citation, together with a
copy of original petition with date of service marked thereon, at the followirig location,
1999 Brvan Street` Suite 900 Dallas Texas 75201




Citation:       202219885
Plaintiffls Original Petition




Witness Fee:
For mileage
For Notary



                                                                                PSC 4688 expires 2/28/Z024.

                                                        Dave Valfer,1801 Vassar Drive Richardson, Texas
                                                                     Authorized Person


COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE` OR CLERK C}F THE COURT.
}n 8coordance with Rule 107: The officer or authorized pel.son who serves, or auempts to serve. a citation shall sisn the return, The
sisnature is r]ot required to be verified, if the return i§ sisned by a persofi other than a sheriff, conetat>le, or the clerk of the cout, the
return shal) be signed under penalty Of periury and contain the fotowing statement:




My mame is Dave_Val_fer


My date of birth is;         Juiv 2.1960              and my address is; 1801 Vassar Drive Riehardson Texas 75081
                                                                                 Dallas County. Teras


I DECLARE UNDER PENALTY 0F PERJURY THAT TIIE FOREGOING IS TRUE AND
CORECT.




                                                                                                                          EXHIBIT A
              Case 4:22-cv-01371 Document 1-1 Filed on 04/28/22 in TXSD Page 3 of 3



Dave Valfer

From:                                  CLS~SOPDALTEAM@WOLTERSKLUWER`COM
Sent:                                  Friday, April 08, 20221:01 PM
To:                                    premierprocess@swbellnet
Subject:                               Intake Portal -Job #155707 has been received




Hello David Valfer,


We confirm receipt of the following documents via the Intake Portal on the date, time and location indicated below.

Date: Fri, Apr 8, 2022
Time: 1:01 PM
Name: David Valfer
Juris Served: TX
Job lD: 155707




  BOSS DRESS FOR LESS, lNC.                            C T CORPORATION SYSTEM                         202219885


You can also view the status of your job at
https://intake.ctcorporatjofl.com/

 Thank you
 Intake Specialist: Tierica Williams
 CT Corporation, a Waiters Kluwer Company




                                                                                                      EXHIBIT A
